Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 1 of 72. PageID #: 1858




    Appendix Exhibit 4

     Claimant’s Brief in
       Opposition to
     Motion to Dismiss
                  R000081-R000224
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 2 of 72. PageID #: 1859




                                                                          R000081
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 3 of 72. PageID #: 1860




                                                                          R000082
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 4 of 72. PageID #: 1861




                                                                          R000083
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 5 of 72. PageID #: 1862




                                                                          R000084
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 6 of 72. PageID #: 1863




                                                                          R000085
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 7 of 72. PageID #: 1864




                                                                          R000086
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 8 of 72. PageID #: 1865




                                                                          R000087
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 9 of 72. PageID #: 1866




                                                                          R000088
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 10 of 72. PageID #: 1867




                                                                           R000089
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 11 of 72. PageID #: 1868




                                                                           R000090
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 12 of 72. PageID #: 1869




                                                                           R000091
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 13 of 72. PageID #: 1870




                                                                           R000092
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 14 of 72. PageID #: 1871




                                                                           R000093
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 15 of 72. PageID #: 1872




                                                                           R000094
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 16 of 72. PageID #: 1873




                                                                           R000095
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 17 of 72. PageID #: 1874




                                                                           R000096
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 18 of 72. PageID #: 1875




                                                                           R000097
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 19 of 72. PageID #: 1876




                                                                           R000098
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 20 of 72. PageID #: 1877




                                                                           R000099
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 21 of 72. PageID #: 1878




                                                                           R000100
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 22 of 72. PageID #: 1879




                                                                           R000101
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 23 of 72. PageID #: 1880




                                                                           R000102
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 24 of 72. PageID #: 1881




                                                                           R000103
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 25 of 72. PageID #: 1882




                                                                           R000104
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 26 of 72. PageID #: 1883




                                                                           R000105
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 27 of 72. PageID #: 1884




                                                                           R000106
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 28 of 72. PageID #: 1885




                                                                           R000107
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 29 of 72. PageID #: 1886




                                                                           R000108
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 30 of 72. PageID #: 1887




                                                                           R000109
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 31 of 72. PageID #: 1888




                                                                           R000110
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 32 of 72. PageID #: 1889




                                                                           R000111
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 33 of 72. PageID #: 1890




                                                                           R000112
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 34 of 72. PageID #: 1891




                                                                           R000113
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 35 of 72. PageID #: 1892




                                                                           R000114
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 36 of 72. PageID #: 1893




                                                                           R000115
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 37 of 72. PageID #: 1894




                                                                           R000116
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 38 of 72. PageID #: 1895




                                                                           R000117
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 39 of 72. PageID #: 1896




                                                                           R000118
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 40 of 72. PageID #: 1897




                                                                           R000119
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 41 of 72. PageID #: 1898




                                                                           R000120
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 42 of 72. PageID #: 1899




                                                                           R000121
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 43 of 72. PageID #: 1900




                                                                           R000122
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 44 of 72. PageID #: 1901




                                                                           R000123
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 45 of 72. PageID #: 1902




                                                                           R000124
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 46 of 72. PageID #: 1903




                                                                           R000125
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 47 of 72. PageID #: 1904




                                                                           R000126
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 48 of 72. PageID #: 1905




                                                                           R000127
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 49 of 72. PageID #: 1906




                                                                           R000128
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 50 of 72. PageID #: 1907




                                                                           R000129
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 51 of 72. PageID #: 1908




                                                                           R000130
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 52 of 72. PageID #: 1909




                                                                           R000131
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 53 of 72. PageID #: 1910




                                                                           R000132
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 54 of 72. PageID #: 1911




                                                                           R000133
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 55 of 72. PageID #: 1912




                                                                           R000134
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 56 of 72. PageID #: 1913




                                                                           R000135
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 57 of 72. PageID #: 1914




                                                                           R000136
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 58 of 72. PageID #: 1915




                                                                           R000137
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 59 of 72. PageID #: 1916




                                                                           R000138
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 60 of 72. PageID #: 1917




                                                                           R000139
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 61 of 72. PageID #: 1918




                                                                           R000140
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 62 of 72. PageID #: 1919




                                                                           R000141
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 63 of 72. PageID #: 1920




                                                                           R000142
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 64 of 72. PageID #: 1921




                                                                           R000143
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 65 of 72. PageID #: 1922




                                                                           R000144
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 66 of 72. PageID #: 1923




                                                                           R000145
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 67 of 72. PageID #: 1924




                                                                           R000146
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 68 of 72. PageID #: 1925




                                                                           R000147
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 69 of 72. PageID #: 1926




                                                                           R000148
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 70 of 72. PageID #: 1927




                                                                           R000149
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 71 of 72. PageID #: 1928




                                                                           R000150
Case: 1:09-cv-01192-CAB Doc #: 31-6 Filed: 04/14/10 72 of 72. PageID #: 1929




                                                                           R000151
